    23-11007-cgb Doc#125 Filed 09/25/24 Entered 09/25/24 14:10:27 Ntc/Clm db Pg 1 of 1

                        UNITED STATES BANKRUPTCY COURT
                               Western District of Texas

                                                                     Bankruptcy Case
                                                                                     23−11007−cgb
                                                                                No.:
                                                                        Chapter No.: 7
                                                                                     Christopher G
                                                                              Judge:
                                                                                     Bradley
IN RE: ArtiusID, Inc. , Debtor(s)



               NOTICE OF FILING PROOF OF CLAIM BY DEBTOR OR TRUSTEE

TO THE CREDITOR:

You are hereby notified that the debtor named above, or the Trustee appointed to this case, has filed a Proof of Claim
on your behalf against the estate herein pursuant to 11 U.S.C. Section 501(c) and or/Federal Rule of Bankruptcy
Procedure 3004 . The Court has assigned it Claim No. 2−1 which may be different from the Trustee claim number.




Dated: 9/25/24
                                                              Barry D. Knight
                                                              Clerk, U. S. Bankruptcy Court

                                                              BY: Carol Y. Boggess




                                                                                                 [Proof of Claim Notice] [Ntcpocdb]
